                                     Case 6:15-bk-01933-KSJ                         Doc 95          Filed 02/05/18               Page 1 of 18




1A
 /2009
 /2011
 101-7-TFR
 3ems Inc.
                                                           UNITED STATES BANKRUPTCY COURT
                                                             MIDDLE DISTRICT OF FLORIDA
                                                                   ORLANDO DIVISION


                   In re:                                                                          §
                                                                                                   §
                   RIVKIND, MIRIAM C.                                                              §           Case No. 6:15-bk-01933-KSJ
                                                                                                   §
                                                                 Debtor                            §

                                                                TRUSTEE’S FINAL REPORT (TFR)

                              The undersigned trustee hereby makes this Final Report and states as follows:

                          1. A petition under chapter 7 of the United States Bankruptcy Code was filed on
                    03/06/2015 . The undersigned trustee was appointed on 03/09/2015 .

                              2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                           3. All scheduled and known assets of the estate have been reduced to cash, released to
                   the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
                   pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
                   disposition of all property of the estate is attached as Exhibit A.

                              4. The trustee realized gross receipts of                                             $             114,074.00

                                                     Funds were disbursed in the following amounts:

                                                     Payments made under an interim                                                          0.00
                                                     disbursement
                                                     Administrative expenses                                                               0.00
                                                     Bank service fees                                                                   613.14
                                                     Other payments to creditors                                                           0.00
                                                     Non-estate funds paid to 3rd Parties                                                  0.00
                                                     Exemptions paid to the debtor                                                         0.00
                                                     Other payments to the debtor                                                          0.00
                                                                                               1
                                                     Leaving a balance on hand of                                   $             113,460.86

                    The remaining funds are available for distribution.
             ____________________
                        1
                           The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
             will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
             maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
             UST Form 101-7-TFR (5/1/2011) (Page: 1)
                        Case 6:15-bk-01933-KSJ                         Doc 95          Filed 02/05/18               Page 2 of 18




             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

             6. The deadline for filing non-governmental claims in this case was 07/07/2015 and the
      deadline for filing governmental claims was 01/01/2016 . All claims of each class which will
      receive a distribution have been examined and any objections to the allowance of claims have
      been resolved. If applicable, a claims analysis, explaining why payment on any claim is not
      being made, is attached as Exhibit C.

                 7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $ 8,953.70 . To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

             The trustee has received $ 0.00 as interim compensation and now requests a sum of
      $ 8,953.70 , for a total compensation of $ 8,953.70 2. In addition, the trustee received
      reimbursement for reasonable and necessary expenses in the amount of $ 0.00 , and now requests
      reimbursement for expenses of $ 160.29 , for total expenses of $ 160.29 2.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 01/29/2018                                     By:/s/Carla Musselman, Trustee
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

UST Form 101-7-TFR (5/1/2011) (Page: 2)
                                                           Case 6:15-bk-01933-KSJ              Doc 95 Filed 02/05/18
                                                                                                 FORM 1
                                                                                                                                        Page 3 of 18
                                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                     Page:        1
                                                                                         ASSET CASES                                                                                                      Exhibit A
Case No:            15-01933       KSJ      Judge: Karen S. Jennemann                                                             Trustee Name:                       Carla Musselman, Trustee
Case Name:          RIVKIND, MIRIAM C.                                                                                           Date Filed (f) or Converted (c):     03/06/15 (f)
                                                                                                                                 341(a) Meeting Date:                 04/08/15
For Period Ending: 01/29/18                                                                                                      Claims Bar Date:                     07/07/15



                                       1                                         2                          3                         4                         5                                    6
                                                                                                   Estimated Net Value
                                                                             Petition/        (Value Determined by Trustee,    Property Formally           Sale/Funds                  Asset Fully Administered (FA)/
                              Asset Description                             Unscheduled          Less Liens, Exemptions,          Abandoned                Received by                Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                    Values                and Other Costs)          OA=554(a) Abandon             the Estate

 1. Homestead - 378 Washington Pierson, FL                                     148,858.00                         10,000.00                                           10,000.00                    FA


 2. Financial Accounts BBT 6936                                                      350.00                            0.00                                                0.00                    FA


 3. Household Goods                                                                  900.00                            0.00                                                0.00                    FA


 4. Wearing Apparel                                                                  100.00                            0.00                                                0.00                    FA


 5. Furs and Jewelry                                                                 100.00                         100.00                                                 0.00                    FA


 6. Annuities - New York Life annuity                                          129,809.26                         50,000.00                                           50,000.00                    FA


 7. Annuities - The Standard annuity                                           104,000.00                         40,000.00                                           40,000.00                    FA


 8. Pension / Profit Sharing Fidelity IRA                                       23,243.78                              0.00                                                0.00                    FA


 9. Contingent Claims - Possible Bad Faith Claim                                 Unknown                          10,000.00          OA                                    0.00                    FA


 10. 2012 Honda CRV - VIN: 5J6RM3H31CL036692                                    16,850.00                         14,000.00                                           14,000.00                    FA


 11. Animals                                                                           0.00                            0.00                                                0.00                    FA


 12. 2014 Income Tax Refund (u)                                                        0.00                           74.00                                               74.00                    FA

                                                                                                                                                                                     Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                            $424,211.04                       $124,174.00                                         $114,074.00                           $0.00




LFORM1   UST Form 101-7-TFR (5/1/2011) (Page: 3)                                                                                                                                                                  Ver: 20.00g
                                                            Case 6:15-bk-01933-KSJ                         Doc 95 Filed 02/05/18
                                                                                                             FORM 1
                                                                                                                                                      Page 4 of 18
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                            Page:       2
                                                                                               ASSET CASES                                                                                                             Exhibit A
Case No:             15-01933       KSJ    Judge: Karen S. Jennemann                                                                            Trustee Name:                     Carla Musselman, Trustee
Case Name:           RIVKIND, MIRIAM C.                                                                                                        Date Filed (f) or Converted (c):   03/06/15 (f)
                                                                                                                                               341(a) Meeting Date:               04/08/15
                                                                                                                                               Claims Bar Date:                   07/07/15



                                       1                                                    2                            3                          4                         5                                   6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                 Asset Fully Administered (FA)/
                               Asset Description                                     Unscheduled            Less Liens, Exemptions,             Abandoned                Received by               Gross Value of Remaining Assets
                   (Scheduled and Unscheduled (u) Property)                            Values                  and Other Costs)             OA=554(a) Abandon             the Estate

                                                                                                                                                                                                 (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   04/07/15: Motion to Dismiss Case. as Bad Faith Filing Pursuant to 11 U.S.C. Section 707(a)
   04/08/15: 341 meeting held and continued
   05/06/15: 341 meeting held and continued
   05/20/15: 341 meeting held and continued
   05/28/15: Application to Employ Bradley M. Saxton and the law firm of Winderweedle, Haines, Ward & Woodman, PA as
   attorney
   06/03/15: 341 meeting held and concluded.
   06/08/15: Order Approving Application to Employ Bradley M. Saxton and the firm of Winderweedle, Haines, Ward & Woodman,
   P.A.
   10/15: Trial on objection to exemptions scheduled in December 2015.
   11/23/15: Order Granting Motion for Stacy Eckert to Withdraw as Counsel for Debtor
   11/23/15: Order Granting Motion to Extend Time to File Responses to Trustee's Discovery Request.
   09/17: Final settlement payment received. Case is ready to close, pending final fee applications.


   RE PROP# 1---The East 1/2 of The West 1/2 of The Southwest 1/4 of The Southeast 1/4 of Section 28, Township 14 South,
     Range 28 East, lying and being situated in Volusia County, Florida. Property is 11+/- acres inside the city limits of
     Pierson. Debtor's homestead exemption is for 1/2 acre of land and the home. a/k/a 378 W Washington Ave Pierson. Fl
     32180
     07/15: Objection to Exemptions filed
     09/16: Motion for settlement and compromise. Debtor to pay $100k to settle all matters related to objection to
     exemptions for assets 1,6, & 7.




LFORM1    UST Form 101-7-TFR (5/1/2011) (Page: 4)                                                                                                                                                                             Ver: 20.00g
                                                            Case 6:15-bk-01933-KSJ                        Doc 95 Filed 02/05/18
                                                                                                            FORM 1
                                                                                                                                       Page 5 of 18
                                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                   Page:       3
                                                                                                ASSET CASES                                                                                    Exhibit A
Case No:            15-01933        KSJ    Judge: Karen S. Jennemann                                                            Trustee Name:                      Carla Musselman, Trustee
Case Name:          RIVKIND, MIRIAM C.                                                                                          Date Filed (f) or Converted (c):   03/06/15 (f)
                                                                                                                                341(a) Meeting Date:               04/08/15
                                                                                                                                Claims Bar Date:                   07/07/15
     10/16: Order granting compromise.
     09/17: Withdrawal of objection to exemptions after satisfaction of compromise monies.
   RE PROP# 3---couch, loveseat, 3 end tables, table & 8 chairs, refrigerator, stove, microwave, table & 3 chairs, 3 beds,
     bunk beds, 3 dressers, 2 end tables, photo albums, christmas decorations, tools, freezer
   RE PROP# 4---everyday clothing and shoes
   RE PROP# 5---earrings and wedding band
   RE PROP# 6---05/15: Debtor purchased annuity 8/06/12 in the amount of $125,000.
     07/15: Objection to exemptions.
     09/16: Motion for settlement and compromise. Debtor to pay $100k to settle all matters related to objection to
     exemptions for assets 1,6, & 7.
     10/16: Order granting compromise.
     09/17: Withdrawal of objection to exemptions after satisfaction of compromise monies.
   RE PROP# 7---05/15: Debtor purchased annuity oon 8/09/12 for $100,000.
     07/15: Objection to exemptions.
     09/16: Motion for settlement and compromise. Debtor to pay $100k to settle all matters related to objection to
     exemptions for assets 1,6, & 7.
     10/16: Order granting compromise.
     09/17: Withdrawal of objection to exemptions after satisfaction of compromise monies.
   RE PROP# 8---Rollover funds from Nationwide Retirement account 403b
   RE PROP# 9---Potential claim against State Farm Insruance for denial of coverage/improper coverage/fraud
     03/16: Debtor amended to disclose asset again after state court ruling adding E&O coverage claim against State Farm.
     09/16: Trustee still investigating claim. Trustee value of claim is minimal to comply with UST reporting requirements of
      2nd interim cycle. Trustee has meet with debtor and debtor attorney to determine cause of action at length. Debtor
     provided trustee with potential special counsel who is still reviewing the facts.
     10/19/16: Notice of Abandonment filed
   RE PROP# 10---2012 Honda CRV, 15000 miles, good condition
     05/15: Estate named as loss payee and additional insured.
     08/03/15: Notice of Intent to Sell filed
     08/31/15: Report of Sale filed
   RE PROP# 11---dog
   RE PROP# 12---05/15: Debtor recieving $74 with no EIC.




LFORM1   UST Form 101-7-TFR (5/1/2011) (Page: 5)                                                                                                                                                      Ver: 20.00g
                                                            Case 6:15-bk-01933-KSJ                  Doc 95 Filed 02/05/18
                                                                                                      FORM 1
                                                                                                                                Page 6 of 18
                                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                  Page:       4
                                                                                          ASSET CASES                                                                                   Exhibit A
Case No:            15-01933       KSJ    Judge: Karen S. Jennemann                                                      Trustee Name:                      Carla Musselman, Trustee
Case Name:          RIVKIND, MIRIAM C.                                                                                   Date Filed (f) or Converted (c):   03/06/15 (f)
                                                                                                                         341(a) Meeting Date:               04/08/15
                                                                                                                         Claims Bar Date:                   07/07/15
   Initial Projected Date of Final Report (TFR): 08/31/16       Current Projected Date of Final Report (TFR): 01/31/18




LFORM1   UST Form 101-7-TFR (5/1/2011) (Page: 6)                                                                                                                                               Ver: 20.00g
                                                      Case 6:15-bk-01933-KSJ              Doc 95         Filed 02/05/18       Page 7 of 18
                                                                                              FORM 2                                                                                    Page:     1
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                      Exhibit B
  Case No:          15-01933 -KSJ                                                                                       Trustee Name:                    Carla Musselman, Trustee
  Case Name:        RIVKIND, MIRIAM C.                                                                                  Bank Name:                       UNION BANK
                                                                                                                        Account Number / CD #:           *******6068 Checking Account
  Taxpayer ID No:    *******5197
  For Period Ending: 01/29/18                                                                                           Blanket Bond (per case limit):   $ 21,463,797.00
                                                                                                                        Separate Bond (if applicable):


           1           2                               3                                             4                                              5                      6                7
    Transaction    Check or                                                                                                 Uniform                                                     Account / CD
       Date        Reference                Paid To / Received From                      Description Of Transaction        Trans. Code         Deposits ($)      Disbursements ($)       Balance ($)
                                                                              BALANCE FORWARD                                                                                                          0.00

       06/04/15                 INTERNAL REVENUE SERVICE                      Income Tax refund                              1224-000                    74.00                                        74.00
                                Centralized Insolvency Operations
                                PO Box 21126
                                Philadelphia, PA 19114
       06/04/15       12          Asset Sales Memo:                           2014 Income Tax Refund $74.00                                                                                           74.00

       07/23/15                 MIRIAM C. RIVKIND                             Buyback Installment                            1129-000                14,000.00                                  14,074.00
                                378 WEST WASHINGTON AVENUE
                                PIERSON, FL 32180
       07/23/15       10          Asset Sales Memo:                           2012 Honda CRV - VIN: 5J6RM3H31CL036692                                                                           14,074.00
                                                                              $14,000.00

       08/25/15                 UNION BANK                                    BANK SERVICE FEE                               2600-000                                          15.00            14,059.00

       09/25/15                 UNION BANK                                    BANK SERVICE FEE                               2600-000                                          20.91            14,038.09

       10/26/15                 UNION BANK                                    BANK SERVICE FEE                               2600-000                                          20.21            14,017.88

       11/25/15                 UNION BANK                                    BANK SERVICE FEE                               2600-000                                          20.86            13,997.02

       12/28/15                 UNION BANK                                    BANK SERVICE FEE                               2600-000                                          20.16            13,976.86

       01/25/16                 UNION BANK                                    BANK SERVICE FEE                               2600-000                                          20.80            13,956.06

       02/25/16                 UNION BANK                                    BANK SERVICE FEE                               2600-000                                          20.71            13,935.35

       03/25/16                 UNION BANK                                    BANK SERVICE FEE                               2600-000                                          19.35            13,916.00

       04/25/16                 UNION BANK                                    BANK SERVICE FEE                               2600-000                                          20.65            13,895.35


       UST Form 101-7-TFR (5/1/2011) (Page: 7)
LFORM2T4                                                                                                                                                                                        Ver: 20.00g
                                                    Case 6:15-bk-01933-KSJ                Doc 95           Filed 02/05/18     Page 8 of 18
                                                                                              FORM 2                                                                                   Page:     2
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                      Exhibit B
  Case No:          15-01933 -KSJ                                                                                      Trustee Name:                    Carla Musselman, Trustee
  Case Name:        RIVKIND, MIRIAM C.                                                                                 Bank Name:                       UNION BANK
                                                                                                                       Account Number / CD #:           *******6068 Checking Account
  Taxpayer ID No:    *******5197
  For Period Ending: 01/29/18                                                                                          Blanket Bond (per case limit):   $ 21,463,797.00
                                                                                                                       Separate Bond (if applicable):


           1           2                             3                                                 4                                           5                      6                7
    Transaction    Check or                                                                                                  Uniform                                                   Account / CD
       Date        Reference               Paid To / Received From                      Description Of Transaction          Trans. Code       Deposits ($)      Disbursements ($)       Balance ($)


       05/25/16                 UNION BANK                                   BANK SERVICE FEE                                2600-000                                         19.95            13,875.40

       06/27/16                 UNION BANK                                   BANK SERVICE FEE                                2600-000                                         20.59            13,854.81

       07/25/16                 UNION BANK                                   BANK SERVICE FEE                                2600-000                                         19.90            13,834.91

       08/25/16                 UNION BANK                                   BANK SERVICE FEE                                2600-000                                         20.53            13,814.38

       09/22/16                 MIRIAM C. RIVKIND                            Settlement of Adversary                         1110-000               10,000.00                                  23,814.38
                                378 WEST WASHINGTON AVENUE
                                PIERSON, FL 32180
       09/22/16        1          Asset Sales Memo:                          Homestead - 378 Washington Pierson, FL                                                                            23,814.38
                                                                             $10,000.00

       09/26/16                 UNION BANK                                   BANK SERVICE FEE                                2600-000                                         20.50            23,793.88

       10/25/16                 UNION BANK                                   BANK SERVICE FEE                                2600-000                                         23.64            23,770.24

       11/25/16                 UNION BANK                                   BANK SERVICE FEE                                2600-000                                         35.26            23,734.98

       12/27/16                 UNION BANK                                   BANK SERVICE FEE                                2600-000                                         34.09            23,700.89

       01/25/17                 UNION BANK                                   BANK SERVICE FEE                                2600-000                                         35.17            23,665.72

       02/27/17                 UNION BANK                                   BANK SERVICE FEE                                2600-000                                         35.21            23,630.51

       03/27/17                 UNION BANK                                   BANK SERVICE FEE                                2600-000                                         31.77            23,598.74

       04/25/17                 UNION BANK                                   BANK SERVICE FEE                                2600-000                                         35.11            23,563.63




       UST Form 101-7-TFR (5/1/2011) (Page: 8)
LFORM2T4                                                                                                                                                                                       Ver: 20.00g
                                                    Case 6:15-bk-01933-KSJ                   Doc 95          Filed 02/05/18                  Page 9 of 18
                                                                                                  FORM 2                                                                                                      Page:     3
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                             Exhibit B
  Case No:          15-01933 -KSJ                                                                                                      Trustee Name:                    Carla Musselman, Trustee
  Case Name:        RIVKIND, MIRIAM C.                                                                                                 Bank Name:                       UNION BANK
                                                                                                                                       Account Number / CD #:           *******6068 Checking Account
  Taxpayer ID No:    *******5197
  For Period Ending: 01/29/18                                                                                                          Blanket Bond (per case limit):   $ 21,463,797.00
                                                                                                                                       Separate Bond (if applicable):


           1           2                             3                                                  4                                                          5                       6                      7
    Transaction    Check or                                                                                                                Uniform                                                            Account / CD
       Date        Reference               Paid To / Received From                          Description Of Transaction                    Trans. Code         Deposits ($)         Disbursements ($)           Balance ($)
       05/25/17                 UNION BANK                                      BANK SERVICE FEE                                            2600-000                                              33.93               23,529.70

       06/26/17                 UNION BANK                                      BANK SERVICE FEE                                            2600-000                                              35.01               23,494.69

       07/25/17                 UNION BANK                                      BANK SERVICE FEE                                            2600-000                                              33.83               23,460.86

       08/14/17                 MIRIAM C. RIVKIND                               Preference / Fraudulent Transfer                            1129-000                90,000.00                                     113,460.86
                                378 WEST WASHINGTON AVENUE
                                PIERSON, FL 32180
       08/14/17        6          Asset Sales Memo:                             Annuities - New York Life annuity $50,000.00                                                                                      113,460.86
       08/14/17        7          Asset Sales Memo:                             Annuities - The Standard annuity $40,000.00                                                                                       113,460.86




                                                                       Account *******6068                         Balance Forward                        0.00
                                                                                                             9              Deposits                114,074.00                0         Checks                          0.00
                                                                                                             0     Interest Postings                      0.00               24 Adjustments Out                       613.14
                                                                                                                                                                              0   Transfers Out                         0.00
                                                                                                                           Subtotal            $    114,074.00
                                                                                                                                                                                          Total           $           613.14
                                                                                                             0      Adjustments In                         0.00
                                                                                                             0        Transfers In                         0.00

                                                                                                                              Total            $    114,074.00




       UST Form 101-7-TFR (5/1/2011) (Page: 9)
LFORM2T4                                                                                                                                                                                                              Ver: 20.00g
                                                   Case 6:15-bk-01933-KSJ            Doc 95         Filed 02/05/18    Page 10 of 18
                                                                                         FORM 2                                                                                  Page:    4
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                Exhibit B
  Case No:          15-01933 -KSJ                                                                                Trustee Name:                    Carla Musselman, Trustee
  Case Name:        RIVKIND, MIRIAM C.                                                                           Bank Name:                       UNION BANK
                                                                                                                 Account Number / CD #:           *******6068 Checking Account
  Taxpayer ID No:    *******5197
  For Period Ending: 01/29/18                                                                                    Blanket Bond (per case limit):   $ 21,463,797.00
                                                                                                                 Separate Bond (if applicable):


           1           2                             3                                          4                                            5                      6                7
    Transaction    Check or                                                                                           Uniform                                                    Account / CD
       Date        Reference               Paid To / Received From                  Description Of Transaction       Trans. Code        Deposits ($)      Disbursements ($)       Balance ($)




       UST Form 101-7-TFR (5/1/2011) (Page: 10)
LFORM2T4                                                                                                                                                                                 Ver: 20.00g
                   Case 6:15-bk-01933-KSJ   Doc 95   Filed 02/05/18   Page 11 of 18




UST Form 101-7-TFR (5/1/2011) (Page: 11)
                   Case 6:15-bk-01933-KSJ   Doc 95   Filed 02/05/18   Page 12 of 18




UST Form 101-7-TFR (5/1/2011) (Page: 12)
                   Case 6:15-bk-01933-KSJ   Doc 95   Filed 02/05/18   Page 13 of 18




UST Form 101-7-TFR (5/1/2011) (Page: 13)
                   Case 6:15-bk-01933-KSJ   Doc 95   Filed 02/05/18   Page 14 of 18




UST Form 101-7-TFR (5/1/2011) (Page: 14)
                   Case 6:15-bk-01933-KSJ   Doc 95   Filed 02/05/18   Page 15 of 18




UST Form 101-7-TFR (5/1/2011) (Page: 15)
                    Case 6:15-bk-01933-KSJ           Doc 95     Filed 02/05/18      Page 16 of 18




                                           TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                         Exhibit D

     Case No.: 6:15-bk-01933-KSJ
     Case Name: RIVKIND, MIRIAM C.
     Trustee Name: Carla Musselman, Trustee
                         Balance on hand                                              $             113,460.86

               Claims of secured creditors will be paid as follows:


                                                             NONE


               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                          Interim Payments Proposed
                         Reason/Applicant              Total Requested    to Date          Payment
      Trustee Fees: Carla Musselman, Trustee          $         8,953.70 $                0.00 $         8,953.70
      Trustee Expenses: Carla Musselman,
      Trustee                                         $           160.29 $                0.00 $          160.29
      Attorney for Trustee Fees: Winderweedle
      Haines Ward & Woodman, PA                       $        34,631.52 $                0.00 $      34,631.52
      Attorney for Trustee Expenses:
      Winderweedle Haines Ward & Woodman,
      PA                                              $           275.48 $                0.00 $          275.48
                 Total to be paid for chapter 7 administrative expenses               $               44,020.99
                 Remaining Balance                                                    $               69,439.87


               Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                             NONE


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 0.00 must be paid in advance of any dividend to general (unsecured) creditors.




UST Form 101-7-TFR (5/1/2011) (Page: 16)
                    Case 6:15-bk-01933-KSJ                Doc 95     Filed 02/05/18      Page 17 of 18




                 Allowed priority claims are:

                                                           Allowed Amount        Interim Payments Proposed
     Claim No.            Claimant                         of Claim              to Date          Payment
     03                   Internal Revenue Service        $            0.00 $               0.00 $             0.00
                 Total to be paid to priority creditors                                    $                   0.00
                 Remaining Balance                                                         $             69,439.87


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 5,015,861.77 have been allowed and
     will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 1.4 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                           Allowed Amount        Interim Payments Proposed
     Claim No.            Claimant                         of Claim              to Date          Payment
                          Bell South
     01                   Telecommunications, Inc.        $          138.38 $               0.00 $             1.92
     02                   BB&T                            $        11,320.44 $              0.00 $           156.72
     04                   Jeena Tomasheski                $   5,000,000.00 $                0.00 $       69,220.28
     05                   Quantum3 Group LLC              $          349.44 $               0.00 $             4.84
                          American Express
     06                   Centurion Bank                  $         1,125.63 $              0.00 $            15.58
                          American Express Bank,
     07                   FSB                             $          635.04 $               0.00 $             8.79
     08                   PYOD, LLC                       $         1,956.63 $              0.00 $            27.09
     09                   Synchrony Bank                  $          336.21 $               0.00 $             4.65
                 Total to be paid to timely general unsecured creditors                    $             69,439.87
                 Remaining Balance                                                         $                   0.00




UST Form 101-7-TFR (5/1/2011) (Page: 17)
                    Case 6:15-bk-01933-KSJ           Doc 95      Filed 02/05/18     Page 18 of 18




             Tardily filed claims of general (unsecured) creditors totaling $ 12,200.00 have been allowed and
     will be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
     claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent.

                 Tardily filed general (unsecured) claims are as follows:

                                                       Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                     of Claim             to Date          Payment
     10                   Carla C Rabassa MD          $        4,100.00 $              0.00 $             0.00
     11                   Monica Rabassa              $        4,800.00 $              0.00 $             0.00
     12                   Miriam Rabassa              $        3,300.00 $              0.00 $             0.00
                 Total to be paid to tardy general unsecured creditors                $                   0.00
                 Remaining Balance                                                    $                   0.00




            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent.

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:


                                                             NONE




UST Form 101-7-TFR (5/1/2011) (Page: 18)
